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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 KEVIN AJENIFUJA,

                 Plaintiff,

         v.                                                  No. 19-cv-2323 (DLF)

 ALIKO DANGOTE, et al.,

                 Defendants.


                                               ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is

        ORDERED that the Defendants’ Motions to Dismiss, Dkts. 33, 34, 47, are GRANTED

with respect to Counts I, II, and IV; and it is further

        ORDERED that Counts III and V are DISMISSED WITHOUT PREJUDICE for lack

of subject-matter jurisdiction.

        The Clerk of Court is directed to close this case.




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                                                               DABNEY L. FRIEDRICH
September 2, 2020                                              United States District Judge
